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           9                              UNITED STATES DISTRICT COURT

          10                             NORTHERN DISTRICT OF CALIFORNIA

          11                                 SAN FRANCISCO DIVISION

          12   ABRAHAM BIELSKI, on behalf of himself      Case No. 3:21-cv-07478-WHA
               and all others similarly situated,
          13                                              DEFENDANT COINBASE, INC.’S
                           Plaintiffs,                    NOTICE OF MOTION AND MOTION
          14                                              TO STAY PENDING APPEAL;
                     v.                                   MEMORANDUM OF POINTS AND
          15                                              AUTHORITIES IN SUPPORT THEREOF
               COINBASE, INC.
          16                                              Date:       June 9, 2022
                           Defendant.                     Time:       8:00 a.m.
          17                                              Dept:       Courtroom 12 – 19th Floor
                                                          Judge:      Hon. William Alsup
          18
                                                          Date Filed: September 24, 2021
          19
                                                          Trial Date: None set
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 1          TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on June 9, 2022, at 8:00 a.m., or as soon thereafter as this

 3   matter may be heard, in the courtroom of the Honorable William Alsup, located in Courtroom 12,

 4   19th Floor of the United States Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102,

 5   Defendant Coinbase, Inc. (“Coinbase”) will and hereby does move this Court for an order staying

 6   all proceedings in the district court pending appeal of the Court’s April 8, 2022 Order Denying

 7   Motion to Compel Arbitration (Dkt. 42). Coinbase’s motion is based upon this Notice of Motion,

 8   the accompanying Memorandum of Points and Authorities, all pleadings and papers on file in this

 9   action, and such other argument and evidence as may be presented to this Court prior to or at the

10   hearing on this matter.

11

12   Dated: May 5, 2022                                     KEKER, VAN NEST & PETERS LLP
13

14                                                   By:    /s/ Nicholas D. Marais
                                                            STEVEN P. RAGLAND
15                                                          NICHOLAS D. MARAIS
                                                            W. HAMILTON JORDAN
16                                                          ROBYN A. PARISER

17                                                          Attorneys for Defendant COINBASE, INC.
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        DEFENDANT COINBASE, INC.’S NOTICE OF MOTION AND MOTION TO STAY PENDING APPEAL
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 3            District courts in California routinely grant stays pending the appeal of an order denying a

 4   motion to compel arbitration—especially where, as here, the litigation is still in its earliest stages

 5   and the balance of hardships tips sharply in favor of a stay. Coinbase respectfully requests that

 6   this Court do the same.

 7            Coinbase moved to compel arbitration because the parties agreed, in the User Agreement

 8   (“UA”), that “any dispute . . . arising out of or relating to” the UA or Coinbase’s Services “shall

 9   be resolved by binding arbitration.” On April 8, 2022, this Court denied Coinbase’s motion,

10   finding the arbitration provision in the parties’ agreement unconscionable. See Dkt. 42 (“Order”).

11   Pursuant to 9 U.S.C. § 16(a)(1)(A), Coinbase has appealed the Court’s order. Dkt. 43. There is at

12   least a “fair prospect” that the Ninth Circuit will take a different view as to whether: (1) this

13   matter—and any disputes about the arbitrability of this matter—should have been decided by an

14   arbitrator, not the Court; (2) the UA’s express delegation provision is so unconscionable as to be

15   unenforceable; and (3) any issues the Court identified with the UA could have been cured through

16   severance. Given the importance of these questions, the dearth of case law supporting

17   Mr. Bielski’s arguments, the ubiquity of consumer arbitration agreements like the one here, and

18   the substantial irreparable harm Coinbase would face otherwise, Coinbase respectfully requests

19   that the Court stay these proceedings until the Ninth Circuit resolves its appeal.

20            There is no doubt that Coinbase would be irreparably harmed if it is forced to continue

21   litigating here while the Ninth Circuit adjudicates its appeal. Allowing district court proceedings

22   to continue while this appeal is pending would deprive Coinbase of the “efficient, streamlined”

23   arbitration process to which the parties agreed. See AT&T Mobility LLC v. Concepcion, 563 U.S.

24   333, 344 (2011); see also Order at 3 (“Bielski does not contest that he agreed to be bound by the

25   Coinbase user agreement in effect when he signed up for his user account, nor that it covers this

26   dispute.”).1 This is especially so because the scope of motions practice and discovery permitted

27   in a district court is significantly broader than that agreed to by the parties under the American

28   1
         All internal marks and citations have been removed and emphasis added, except where noted.
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          DEFENDANT COINBASE, INC.’S NOTICE OF MOTION AND MOTION TO STAY PENDING APPEAL
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 1   Arbitration Association’s Consumer Rules—and because Mr. Bielski now purports to represent a

 2   putative class, despite agreeing in the UA that he would proceed only on an individual basis. See

 3   Roe v. SFBSC Mgmt., LLC, 2015 WL 1798926, at *3 (N.D. Cal. Apr. 17, 2015) (“The burdens

 4   associated with discovery in a putative class action are substantially greater than in an individual

 5   arbitration.”).

 6            Mr. Bielski, by contrast, will not be injured from a stay—much less “substantially

 7   injure[d],” as the caselaw requires—because any theoretical injury from a stay “can be redressed

 8   by an award of damages if plaintiff ultimately prevails.” Winig v. Cingular Wireless LLC, 2006

 9   WL 3201047, at *2 (N.D. Cal. Nov. 6, 2006). There is no ongoing alleged harm that Mr. Bielski

10   seeks to remedy—only a claim for past damages. This is exactly the kind of case where a stay

11   makes sense: “this case is still in its earliest stages, relief through the court system often takes a

12   long time, and the delay may be mitigated by remedies such as prejudgment interest.”

13   Zaborowski v. MHN Gov’t Servs., Inc., 2013 WL 1832638, at *3 (N.D. Cal. May 1, 2013).

14   Coinbase requests that the Court stay these proceedings until its appeal is resolved.

15   II.      BACKGROUND
16            Plaintiff Abraham Bielski filed the operative complaint on November 19, 2021. See

17   Dkt. 22 (“SAC”). On January 13, 2022, Coinbase moved to compel Mr. Bielski to submit this

18   dispute to individual arbitration in accordance with the UA. See Dkt. 26.

19            On February 10, 2022, Mr. Bielski opposed Coinbase’s motion. See Dkt. 29. In his

20   opposition brief, Mr. Bielski did not dispute that he agreed to be bound by the UA, that the UA

21   contained a clear arbitration agreement with a delegation provision, or that his claims all fell

22   within the scope of the arbitration agreement. See generally id. Instead, Mr. Bielski argued that

23   he should not be compelled to arbitrate because (1) the arbitration agreement was unilateral and

24   therefore unconscionable, and (2) a “condition precedent to arbitration” never occurred because

25   Mr. Bielski chose not to submit his dispute through Coinbase’s Formal Complaint Process. See

26   id. at 1–2. Coinbase filed its reply on February 24, 2022. See Dkt. 30.

27            On March 10, 2022, the Court heard oral argument on the motion and requested

28   supplemental briefing on one discrete issue: whether the two pre-arbitration steps required by the

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           DEFENDANT COINBASE, INC.’S NOTICE OF MOTION AND MOTION TO STAY PENDING APPEAL
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 1   UA, which require users to first contact customer service and then submit a short complaint form

 2   online before turning to arbitration, might be so “onerous” as to render the dispute-resolution

 3   provisions of the UA unconscionable with respect to Mr. Bielski. On March 14, 2022, the parties

 4   filed their supplemental briefs. See Dkts. 38, 39.

 5          On April 8, 2022, this Court issued an Order denying Coinbase’s motion to compel. The

 6   Court acknowledged that there was no dispute “that [Mr. Bielski] agreed to be bound by the

 7   Coinbase user agreement in effect when he signed up for his user account, nor that it covers this

 8   dispute.” See Order at 3. However, the Court found the arbitration agreement and delegation

 9   provision unconscionable, and therefore unenforceable, because (1) the delegation provision

10   “lacks the requisite modicum of bilaterality,” (2) “there is no legitimate commercial need” for the

11   pre-arbitration procedures—contacting customer support and completing an online form

12   describing the complaint—required by the UA, and (3) “severance is not feasible.” Id. at 8:3,

13   8:26–27, 11:27–28.

14   III.   LEGAL STANDARD
15          In determining whether to grant a stay pending appeal of the denial of a motion to compel

16   arbitration, district courts in this circuit consider: (1) whether the movant has shown a sufficient

17   likelihood of success on the merits of the appeal; (2) whether the movant will be irreparably

18   injured absent a stay; (3) whether the stay will substantially injure the other parties interested in

19   the proceeding; and (4) whether the public interest favors a stay. See Leiva-Perez v. Holder, 640

20   F.3d 962, 964 (9th Cir. 2011); see also, e.g., Roe v. SFBSC Mgmt., LLC, 2015 WL 1798926, at

21   *1–2 (N.D. Cal. Apr. 17, 2015) (applying the Leiva-Perez four-factor test); Brown v. MHN Gov’t

22   Servs., Inc., 2014 WL 2472094, at *2 (N.D. Cal. June 3, 2014) (same). The Ninth Circuit weighs

23   all four factors on a “continuum,” under which “a stronger showing of one element may offset a

24   weaker showing of another.” Leiva-Perez, 640 F.3d at 964.

25          District courts in California regularly grant complete stays of all proceedings pending

26   appeal of an order denying a motion to compel arbitration. See, e.g., Revitch v. DirecTV, LLC,

27   2018 WL 5906077, at *2 (N.D. Cal. Nov. 9, 2018), Wuest v. Comcast Cable Commc'ns Mgmt.,

28   LLC, 2017 WL 5569819, at *2 (N.D. Cal. Nov. 20, 2017); Ward v. Estate of Goossen, 2014 WL

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 1   7273911, at *5 (N.D. Cal. Dec. 22, 2014); Zaborowski, 2013 WL 1832638, at *3; Richards v.

 2   Ernst & Young LLP, 2012 WL 92738, at *5 (N.D. Cal. Jan. 11, 2012); Velasquez-Reyes v.

 3   Samsung Elecs. Am., Inc., 2018 WL 6074573, at *3 (C.D. Cal. Mar. 8, 2018); Perez v. DirecTV

 4   Grp. Holdings, LLC, 2017 WL 8117452, at *3 (C.D. Cal. Sept. 22, 2017); Aviles v. Quik Pick

 5   Express, LLC, 2016 WL 6902458, at *4 (C.D. Cal. Jan. 25, 2016); McGhee v. N. Am. Bancard,

 6   LLC, 2018 WL 11267348, at *3 (S.D. Cal. Feb. 6, 2018).

 7          As a compromise measure, federal courts in California sometimes permit limited

 8   discovery while the appeal is pending, restricting discovery to that which would be available to

 9   the parties in the relevant arbitral forum. See, e.g., Mohamed v. Uber Techs., 115 F. Supp. 3d

10   1024, 1029 (N.D. Cal. 2015); Ali v. JP Morgan Chase Bank, 2014 WL 12691084, at *2 (N.D.

11   Cal. Mar. 10, 2014). For instance, in Berk v. Coinbase, Inc., Judge Chhabria denied Coinbase’s

12   motion to compel arbitration after finding that (1) a different, earlier version of Coinbase’s user

13   agreement did not “clearly and unmistakably delegate the question of arbitrability to the

14   arbitrator,” and (2) the plaintiff’s claims did not “arise under” that agreement. Berk v. Coinbase,

15   Inc., No. 18-cv-01364-VC (“Berk matter”), 2019 WL 3561926, at *1 (N.D. Cal. Aug. 6, 2019).

16   But, recognizing that these were “close questions,” Judge Chhabria stayed discovery in those

17   proceedings—except as to “issues/material that would be used in arbitration”—pending appellate

18   review. See Dkt. 82, Berk matter (Minute Entry (Aug. 21, 2019)). In Berk, the Ninth Circuit

19   ultimately “reverse[d] the district court’s order denying Coinbase’s motion to compel arbitration

20   and remand[ed] with instructions to compel arbitration.” Berk v. Coinbase, Inc., 840 F. App’x

21   914, 916 (9th Cir. 2020).

22   IV.    ARGUMENT
23          There are significant statutory and pragmatic reasons for an automatic stay in situations

24   like this one. Indeed, the federal appellate courts are split on whether such a stay is mandatory—

25   and most have concluded that, after a motion to compel arbitration is denied and a defendant

26   appeals, all district court proceedings must immediately be stayed. The FAA permits

27   interlocutory appeals from the denial of such a motion. See 9 U.S.C. § 16(a)(1)(A). And, “[a]s a

28   general rule, the filing of an appeal ‘confers jurisdiction on the court of appeals and divests the

                                                -4-
        DEFENDANT COINBASE, INC.’S NOTICE OF MOTION AND MOTION TO STAY PENDING APPEAL
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 1   district court of its control over those aspects of the case involved in the appeal.’” Levin v. Alms

 2   & Assocs., Inc., 634 F.3d 260, 263 (4th Cir. 2011) (quoting Griggs v. Provident Consumer Disc.

 3   Co., 459 U.S. 56, 58 (1982)). Continuing in the district court will necessarily touch on the

 4   “aspect of the case” that is up on appeal—whether this dispute belongs in federal court at all. As

 5   a result, the majority of circuits have all recognized that a non-frivolous appeal under 9 U.S.C.

 6   § 16(a)(1)(A) divests the district court of jurisdiction during appeal, holding that all trial-court

 7   proceedings must be stayed while the appeal is pending. See Ehleiter v. Grapetree Shores, Inc.,

 8   482 F.3d 207 (3d Cir. 2007); Levin, 634 F.3d at 263; Bradford-Scott Data Corp. v. Physician

 9   Comput. Network, Inc., 128 F.3d 504 (7th Cir. 1997); McCauley v. Halliburton Energy Servs.,

10   Inc., 413 F.3d 1158 (10th Cir. 2005); Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249 (11th

11   Cir. 2004). In other circuits, including the Ninth Circuit, district courts have discretion to

12   determine whether a stay is appropriate in each particular case. See, e.g., Motorola Credit Corp.

13   v. Uzan, 388 F.3d 39 (2d Cir. 2004); Weingarten Realty Invs. v. Miller, 661 F.3d 904 (5th Cir.

14   2011); Britton v. Co-op Banking Grp., 916 F.2d 1405 (9th Cir. 1990). Of course, the logic that

15   mandates a stay in other circuits—that the issue on appeal affects the rest of the proceedings—

16   counsels in favor of one here, too. Plainly, this Court is bound by Ninth Circuit precedent, which

17   gives it discretion to consider whether (and to conclude that) a stay is appropriate. However, if

18   the Court ultimately denies this motion, Coinbase preserves this argument—that a stay here

19   should be mandatory—for appeal.

20          In any event, this Court should exercise its discretion to stay these proceedings because,

21   here, all four factors considered in this circuit weigh in Coinbase’s favor: (1) Coinbase’s appeal

22   has a sufficient likelihood of success on the merits; (2) Coinbase will be irreparably injured

23   absent a stay; (3) Mr. Bielski will not be substantially injured by a stay; and (4) a stay is in the

24   public interest. See Leiva-Perez, 640 F.3d at 964.

25          A.      Coinbase’s appeal has a sufficient likelihood of success on the merits.
26          To obtain a stay, a movant need only demonstrate a “minimum quantum of likely

27   success”—that is, that its appeal has a “‘reasonable probability’ or ‘fair prospect’” of success,

28   presents “a substantial case on the merits,” or raises “serious legal questions.” Leiva-Perez, 640

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 1   F.3d at 967–68; see also Mohamed v. Uber Techs., et al, 115 F. Supp. 3d 1024, 1028 (N.D. Cal.

 2   2015) (“[T]he moving party can attempt to satisfy the first factor by showing that its appeal raises

 3   ‘serious legal questions,’ even if the moving party has only a minimal chance of prevailing on

 4   these questions.”). The Ninth Circuit calls each of these formulations “essentially

 5   interchangeable,” and emphasizes that “none of them demand a showing that success is more

 6   likely than not.” Leiva-Perez, 640 F.3d at 967–68.

 7                  1.      Coinbase’s appeal raises “serious legal questions” and presents “a
                            substantial case on the merits” about whether the Court decided
 8                          questions that the UA delegated to an arbitrator.
 9          In its Order, this Court recognized that the Coinbase UA contains an arbitration agreement

10   with a “clear and unmistakable delegation clause.” Order at 4:14. That delegation clause

11   provides that “all” questions about the “enforceability, revocability, scope, or validity of the

12   Arbitration Agreement or any portion of the Arbitration Agreement . . . shall be decided by an

13   arbitrator and not by a court or judge.” UA § 8.3; see also Order at 4:14–20 (noting that this

14   section of the UA constitutes the delegation provision); Brice v. Haynes Invs., LLC, 13 F.4th 823,

15   837–38 (9th Cir. 2021) (“[B]oth Congress and the Supreme Court have instructed us to respect

16   agreements to arbitrate just as any other contractual agreement.”). Indeed, where an arbitration

17   agreement contains a delegation provision, as the UA does, courts may only consider those

18   arguments that “go to the validity of the delegation provision” itself and not challenges to other

19   parts of the agreement or to the agreement as a whole. Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S.

20   63, 72 (2010) (“[U]nless [the plaintiff] challenged the delegation provision specifically, we must

21   treat it as valid . . . , leaving any challenge to the validity of the Agreement as a whole for the

22   arbitrator.”); see also Brice, 13 F.4th at 827 (“Where a delegation provision exists, courts first

23   must focus on the enforceability of that specific provision, not the enforceability of the arbitration

24   agreement as a whole. To do otherwise would render the delegation provision a nullity.”);

25   Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1210 (9th Cir. 2016) (“When considering an

26   unconscionability challenge to a delegation provision, the court must consider only arguments

27   specific to the delegation provision.”).

28          There is a serious question as to whether this Court’s unconscionability findings relate

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 1   specifically to the delegation provision, as required, or focus instead on other provisions of the

 2   UA or on the arbitration agreement as a whole. See Brice, 13 F.4th at 827 (“Where a delegation

 3   provision exists, courts first must focus on the enforceability of that specific provision, not the

 4   enforceability of the arbitration agreement as a whole.”).

 5          In the Order, the Court’s unconscionability analysis focused on the formal complaint

 6   process and the arbitration agreement, both of which are distinct from the delegation provision.

 7   See e.g., Order at 6:19–20 (“The ‘Arbitration Agreement’ in the user agreement imposes no

 8   obligation on Coinbase to arbitrate.”); Order at 7:3–7 (“The arbitration provision as a whole

 9   addresses only those disputes that have previously gone through the pre-arbitration complaint

10   procedure. Because only Coinbase users can raise a complaint though the pre-arbitration

11   complaint procedure, the arbitration provision imposes no obligation on Coinbase itself to submit

12   its disputes with users to binding arbitration.”); Order at 8:8–28 (finding Coinbase’s “tripartite

13   complaint process” unduly onerous). This Court reasoned that the same analysis applied to the

14   delegation provision, too, because, “like nesting boxes, the delegation clause incorporates several

15   defined terms that specify matters delegated to the arbitration,” including “Arbitration

16   Agreement” and “the user agreement’s tripartite dispute resolution procedure.” Order at 5:15–17,

17   6:4–6. Coinbase respectfully disagrees, and believes that there is at least a “fair prospect” that the

18   Ninth Circuit might, too. See, e.g., Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct.

19   524, 531 (2019) (“When the parties’ contract delegates the arbitrability question to an arbitrator,

20   the courts must respect the parties’ decision as embodied in the contract.”).

21          The Ninth Circuit has found delegation provisions containing similar language

22   enforceable because they were separate and severable from the arbitration agreement at issue,

23   even though they explicitly mention the arbitration agreement. See, e.g., Brice, 13 F.4th at 825,

24   827 (finding that a delegation provision requiring an arbitrator to determine “any issue concerning

25   the validity, enforceability, or scope of the loan agreement or arbitration agreement” separate and

26   severable from the arbitration agreement); Brennan, 796 F.3d at 1133 (finding a delegation

27   provision that states the “arbitrator shall have the power to rule on his or her own jurisdiction,

28   including any objections with respect to the . . . validity of the arbitration agreement” separate and

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 1   severable from the arbitration agreement). The Court’s holding here would nullify the parties’

 2   express agreement to delegate questions of arbitrability to the arbitrator—indeed, its findings that

 3   the Arbitration Agreement is unconscionable and unenforceable are precisely the questions the

 4   parties agreed “shall be decided by an arbitrator and not by a court or judge.” UA § 8.3; see also

 5   Brice, 13 F.4th at 827.

 6          This Court also found that “the delegation clause only delegates questions of arbitrability

 7   that emerge from the user agreement’s tripartite dispute-resolution procedure, not arbitration,

 8   generally.” Order 9:2–4. If the Court means to say that it need not enforce the UA’s delegation

 9   clause because that clause covers only certain disputes—that is, those arising out of the Formal

10   Complaint Process—that is an impermissible finding about the scope of the arbitration agreement.

11   The Ninth Circuit may reasonably conclude that the parties expressly delegated those questions

12   (questions about the scope and enforceability of the arbitration provision) to an arbitrator. See

13   UA § 8.3 (“[D]isputes arising out of or related to the interpretation or application of the

14   Arbitration Agreement, including the enforceability, revocability, scope, or validity of the

15   Arbitration Agreement or any portion of the Arbitration Agreement . . . shall be decided by an

16   arbitrator and not by a court or judge.”).

17          There is a “‘reasonable probability’ or ‘fair prospect’” that the Ninth Circuit will find that
18   this Court decided questions about arbitrability that should have been decided by an arbitrator.
19   See Leiva-Perez, 640 F.3d at 971; Rent-A-Ctr., 561 U.S. at 72. At the very least, Coinbase’s
20   appeal raises “serious legal questions” about delegation sufficient to warrant a stay. See Leiva-

21   Perez, 640 F.3d at 971.

22                  2.         Coinbase’s appeal raises “serious legal questions” and presents a
                               “substantial case on the merits” about whether the UA’s pre-
23                             arbitration procedure is unconscionable.
24          Coinbase respectfully disagrees that the UA’s pre-arbitration procedure “imposes an

25   onerous, unfair burden” on users that renders the delegation clause substantively unconscionable.

26   See Order at 9:4–5. First, as explained above, the Court’s findings about the pre-arbitration

27   procedure are not specific to the delegation clause. Second, for a provision to be unconscionable,

28   it must “shock the conscience.” Ingle v. Cir. City Stores, Inc., 328 F.3d 1165, 1172 (9th Cir.

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 1   2003). The Court concluded that “Coinbase’s tripartite complaint process requires users to jump

 2   through multiple, antecedent hoops before initiating arbitration.” Order at 8:22–24. In fact, the

 3   UA requires that users take only two basic steps before filing an arbitration demand.2 First, they

 4   must “contact Coinbase through [its] support team,” which Mr. Bielski alleges he did. UA § 8.2.

 5   Second, if the support team is unable to resolve the issue, users must submit a formal complaint

 6   using Coinbase’s form, in which they can describe their complaint, explain how they would like

 7   Coinbase to resolve their complaint, and provide any additional information related to the dispute

 8   that they believe to be relevant. Id. § 8.2.1. The form can be completed in minutes and submitted

 9   electronically or by U.S. Mail. Both of these steps are straightforward and simple; neither

10   “shocks the conscience.”

11          Respectfully, the Court’s finding that the UA’s simple two-step pre-arbitration procedure

12   is unconscionable is unsupported by legal precedent. Although this Court acknowledged that pre-

13   arbitration procedures can be “legitimate” and “laudable,” it nevertheless concluded that

14   “[p]retextual or unduly onerous preconditions to arbitration . . . remain substantively

15   unconscionable.” Order at 8:8–9, citing Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237, 1250

16   (2016) and Nyulassy v. Lockheed Martin Corp., 120 Cal. App. 4th 1267, 1282-83 (2004). But

17   neither Baltazar nor Nyulassy supports this conclusion. Baltazar does not address preconditions

18   to arbitration at all. See Baltazar, 62 Cal. 4th at 1250. And Nyulassy stands for a different

19   proposition altogether. Nyulassy involved three concerns that, “taken together,” rendered an

20   arbitration agreement substantively unconscionable. Those concerns included requiring the

21   plaintiff to participate in multiple in-person meetings with a chain of supervisors all the way to

22   the Vice President of Human Resources before pursuing arbitration—discussions that would

23   ultimately give the defendant a strategic advantage in the arbitration itself. See Nyulassy, 120

24   Cal. App. 4th at 1282–83. But here, the Court rejected that so-called “free peek” argument. Hrg.

25   Tr. 13:12–13 (Dkt. 41) (“I don’t think there’s a problem of free peek. I don’t – that problem

26   2
       The Court’s Order “pauses to note the agreement also mentions a separate ‘hotline’ for users to call
27   if their account is compromised, a further checkbox for a user who has seen their account drained.”
     Order at 8:24-25. But this is not a pre-arbitration requirement; it is merely another avenue for
28   users who want assistance. The UA states: “If you believe your account has been compromised,
     you may also report your claim by calling (888) 908-7930.” UA § 8.1.
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 1   doesn’t bother me.”). What’s more, the Nyulassy court wasn’t concerned about the pre-dispute

 2   process in isolation; like this Court, it recognized that pre-dispute processes could be “laudable

 3   mechanism[s] for resolving [] disputes informally.” Nyulassy, 120 Cal. App. 4th at 1282; see also

 4   Dkt. 38 (Suppl. Br.) at 5:1–10.

 5          As far as Coinbase is aware, no court has ever found pre-arbitration procedures like

 6   Coinbase’s unconscionable. In fact, courts routinely enforce arbitration agreements that involve

 7   significantly more burdensome prerequisites than those at issue here. See Dkt. 38 at 3–4, citing

 8   Serpa v. Cal. Sur. Investigations, Inc., 215 Cal. App. 4th 695, 710 (2013); Taft v. Henley Enters.,

 9   Inc., 2016 WL 9448485, at *8 (C.D. Cal. Mar. 2, 2016); Marks v. Bridgestone Americas, Inc.,

10   2015 WL 13919149, at *2 (C.D. Cal. Nov. 16, 2015); Lei v. Amway Corp., 2014 WL 12596787,

11   at *9 (C.D. Cal. July 23, 2014); Sanchez v. Carmax Auto Superstores Cal., LLC, 224 Cal. App.

12   4th 398, 406 (2014); Barati v. Ottno, Inc., 2018 WL 3099015, at *4 (Cal. Ct. App. June 25, 2018)

13   (unpublished). The Court dismissed these cases out of hand because they “analyzed employment

14   contracts and other, similar agreements,” not consumer agreements. Order at 8:13–14. But the

15   cases on which the Court’s order relies—including both Baltazar and Nyulassy—also analyzed

16   employment contracts, see id. at 8:4–9:6, as did those cited by Mr. Bielski. Regardless, it is

17   unclear why this employment–consumer distinction matters; if anything, requiring an employee

18   to discuss her complaint in person “within successive levels of [an employee’s] supervisory chain

19   of command” all the way up to “the Vice President, Human Resources” is far more onerous than

20   asking a consumer to submit a form that can be completed in five minutes from a user’s home

21   computer. Nyulassy, 120 Cal. App. 4th at 1273 n.4.

22          In any event, it was not Coinbase’s burden to prove that its pre-arbitration procedures are

23   conscionable—it was Mr. Bielski’s burden to prove that the pre-arbitration procedures are

24   unconscionable. See Poublon, 846 F.3d at 1260. Mr. Bielski has never identified any caselaw

25   suggesting that the UA’s dispute-resolution procedures are onerous—or that even onerous

26   procedures could render an arbitration agreement unconscionable.

27          Coinbase believes there is a “reasonable probability” that the Ninth Circuit will determine

28   that the UA’s pre-arbitration procedure—which is intended to and does streamline dispute

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 1   resolution to the customers’ benefit—is commercially justified and not unconscionable. At a

 2   minimum, these issues raise serious legal questions, likely of first impression: as the Court

 3   recognized, there is a dearth of case law assessing pre-arbitration requirements in the consumer

 4   context. See Order at 8:13–22. Given the ubiquity of user agreements and terms of service like

 5   the one at issue here, there are broad ramifications to this Court’s decision that may create

 6   uncertainty for businesses and chill efforts to resolve consumers’ disputes before resorting to

 7   expensive litigation. For these reasons, this case should be stayed pending appeal. See Leiva-

 8   Perez, 640 F.3d at 971.

 9                  3.      If the Ninth Circuit finds any provision of the UA unconscionable,
                            Coinbase’s appeal presents “a substantial case on the merits”
10                          regarding severability.
11          A court may “refuse to enforce the entire agreement only when it is ‘permeated’ by

12   unconscionability.” Poublon, 846 F.3d at 1272. Coinbase respectfully disagrees that “severance

13   is not feasible” because “unilaterality pervades both the delegation clause and the arbitration

14   agreement as a whole.” Order at 11:3–4, 11:27–28. As explained in the preceding section,

15   Coinbase believes the Ninth Circuit is likely to find that the UA’s pre-arbitration procedure,

16   which requires only that users contact Coinbase and provide basic information about their claims,

17   is not unconscionable. That leaves only one provision at issue in the Order: an 11-word clause at

18   the beginning of Section 8.3. Order at 6:19–20. In Coinbase’s view, which it has expressed in

19   this case and others around the country, the UA’s arbitration agreement creates a bilateral

20   obligation. But, even if the Court’s analysis were correct, this prefatory clause would be the only

21   objectionable term—a fact that weighs strongly in favor of severance. Cf. Poublon, 846 F.3d at

22   1273 (“California courts have held that a factor weighing against severance exists when the

23   agreement contains more than one objectionable term.”); Ontiveros v. DHL Express (USA), Inc.,

24   164 Cal. App. 4th 494, 515 (2008) (in considering severance, courts weigh “whether the

25   agreement contains more than one objectionable term.”).

26          Specifically, the Court found the arbitration agreement unilateral because of its

27   “introductory clause,” which states: “If we cannot resolve the dispute through the Formal

28   Complaint Process . . . .” UA § 8.3; see Order at 6:10–7:7. Coinbase believes, and Mr. Bielski

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 1   concedes, that severing this clause would render the agreement indisputably mutual. See Dkt. 29

 2   at 4 n.6; id. at 17 n.19 (recognizing that it is “grammatically possible for the Court to strike

 3   language that renders the delegation provision (and the entire agreement to arbitrate) unilateral”).

 4   Coinbase disagrees that severance is impossible because one cannot “cleanly remove the

 5   unconscionable language,” or that severance “would have little efficacy.” Order at 11:19, 11:21.

 6   The Ninth Circuit may not even need to reach this question—if, for instance, it agrees that

 7   questions about the UA’s enforceability should be sent to an arbitrator, or that the agreement

 8   itself is bilateral. But, if it did, and if it thought that the 11-word clause caused any confusion,

 9   there is a fair prospect that it would find that that clause could be easily and cleanly severed. This

10   change would not, as the Court suggested, “rewrite the dispute resolution procedure the user

11   agreement sets out.” Order at 11:16. It would simply clarify that the parties (“you and we”)

12   agreed that “any dispute arising out of or relating to this Agreement or the Coinbase Services . . .

13   shall be resolved by binding arbitration . . . .” See UA, § 8.3. Courts frequently sever precisely

14   these sorts of clauses. See e.g., Poublon, 846 F.3d at 1273–74 (severing two unconscionable

15   clauses, including “the portion of the dispute resolution provision that permits [defendant], but

16   not [plaintiff], to seek judicial resolution of specified claims,” and the portion of the agreement

17   waiving PAGA claims). Doing so here would simply conform the agreement with the parties’

18   intent “for any invalid portion of the agreement to be restricted.” Poublon, 846 F.3d at 1274;

19   UA § 9.7 (agreeing that, if any provision is determined to be unenforceable, the provision should

20   be changed “to accomplish the objectives of the provision to the greatest extent possible . . . .”).

21          Because there is a “‘reasonable probability’ or ‘fair prospect’” that the Ninth Circuit

22   would find that any unconscionable terms in the UA could be severed, this case should be stayed

23   pending appeal. See Leiva-Perez, 640 F.3d at 971.

24          B.      Coinbase will suffer irreparable harm absent a stay.
25          If this litigation continues while Coinbase’s appeal is pending, Coinbase will face serious

26   and irreparable harm that far outweighs any theoretical injury to Mr. Bielski or putative class

27   members. The predominant purpose of arbitration is to provide an “inexpensive and expeditious

28   means of resolving . . . dispute[s].” Int’l Ass’n of Machinsts & Aerospace Workers v. Aloha

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 1   Airlines, 776 F.2d 812, 815 (9th Cir. 1985); see also Stolt-Nielsen S.A. v. AnimalFeeds Int’l

 2   Corp., 559 U.S. 662, 685 (2010) (noting “the benefits of private dispute resolution: lower costs,

 3   greater efficiency and speed, and the ability to choose expert adjudicators to resolve specialized

 4   disputes”). But if this Court denies a stay, and the Ninth Circuit reverses the Order and compels

 5   arbitration, Coinbase will be unable to recover the substantial time and resources that it will have

 6   devoted to litigating this dispute during the appeal. See Pokorny v. Quixtar Inc., 2008 WL

 7   1787111, at *2 (N.D. Cal. Apr. 17, 2008). While monetary expenses incurred in litigation are

 8   generally not considered irreparable harm, “arbitration is unique in this aspect,” because “[i]f a

 9   party must undergo the expense of a trial before being able to appeal denial of a motion to compel

10   arbitration, the anticipated advantages of arbitration—speed and economy—are lost.”

11   Zaborowski, 2013 WL 1832638, at *2; see also Gray v. Golden Gate Nat. Recreational Area,

12   2011 WL 6934433, at *3 (N.D. Cal. Dec. 29, 2011) (“Although monetary losses incurred in

13   litigation are generally not considered irreparable harm, if defendants are forced to incur the

14   expense of litigation before their appeal is heard, the appeal will be moot, and their right to appeal

15   would be meaningless.”).

16          Simply put, ongoing litigation would render meaningless Coinbase’s right to seek

17   immediate appellate review from an order denying a motion to compel arbitration. Numerous

18   district courts within the Ninth Circuit have adopted this reasoning and granted stay motions

19   under similar circumstances because the consequence of losing the advantages of arbitration are

20   “serious, perhaps, irreparable.” Ali, 2014 WL 12691084, at *1; see also, e.g., Zaborowski, 2013

21   WL 1832638, at *2; Wuest v. Comcast Cable Commc’ns Mgmt., LLC, 2017 WL 5569819, at *1

22   (N.D. Cal. Nov. 20, 2017).

23          Furthermore, the harm caused by denial of a stay would be magnified here because

24   Mr. Bielski purports to represent a class and “[t]he burdens associated with discovery in a

25   putative class action are substantially greater than in an individual arbitration.” SFBSC Mgmt.,

26   2015 WL 1798926, at *3; see also Wuest, 2017 WL 5569819, at *1 (irreparable harm absent a

27   stay was amplified because “Plaintiff has brought this case as a class action, thus increasing the

28   expense Defendants will incur”); Murphy v. DirecTV, Inc., 2008 WL 8608808, at *2 (C.D. Cal.

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 1   July 1, 2008) (defendant would suffer irreparable harm absent stay because it would lose “any

 2   and all practical benefits that [it] would have been afforded by the compulsion of arbitration” and

 3   would “lose valuable time and resources if it [were] forced to conduct and respond to classwide

 4   discovery and participate in other complex pre-trial proceedings”); Kaltwasser v. Cingular

 5   Wireless, LLC, 2010 WL 2557379, *2 (N.D. Cal. June 21, 2010) (“[T]he nature and extent of

 6   discovery permissible in private arbitration is fundamentally different from that allowed in class-

 7   action litigation.”); Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228, 238-239 (2013)

 8   (comparing the “prospect of speedy resolution that arbitration in general and bilateral arbitration

 9   in particular was meant to secure” with class procedures that are “slower, more costly, and more

10   likely to generate procedural morass”).

11           Even aside from class-related discovery concerns, the AAA Consumer Arbitration Rules

12   incorporated into the UA provide for a much more limited “exchange of information between the

13   parties” than would occur in discovery under the Federal Rules of Civil Procedure. As the

14   relevant AAA Rules emphasize: “keeping in mind that arbitration must remain a fast and

15   economical process,” the arbitrator has discretion to “direct (1) specific documents and other

16   information to be shared between the consumer and business, and (2) that the consumer and

17   business identify the witnesses, if any, they plan to have testify at the hearing.” AAA Consumer

18   Arbitration Rules at R-22(a). Beyond that, “[n]o other exchange of information . . . is

19   contemplated under these Rules, unless an arbitrator determines further information exchange is

20   needed to provide for a fundamentally fair process.” Id. at R-22(c). Thus, in this case, further

21   discovery in this Court during the pendency of Coinbase’s appeal would irreparably deprive

22   Coinbase of the benefits of the very specific limitations on discovery to that which, in the

23   arbitrator’s discretion, is consistent with “a fast and economical process.” Id. at R-22(a); see

24   Ward, 2014 WL 7273911, at *4 (finding irreparable harm to the movant where the relevant

25   arbitration procedure “is a streamlined process” without “formal discovery, law and motion

26   practice, or other pre-trial hearings” because “[t]he contrast, in time and expense, between the

27   arbitration process . . . and the process of litigation in federal court is substantial”).

28           None of these harms to Coinbase could be undone or remedied. Because Coinbase will be

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 1   “irreparably injured absent a stay,” this factor tilts sharply in favor of granting this motion. Nken

 2   v. Holder, 556 U.S. 418, 426 (2009).

 3             C.     Mr. Bielski will suffer no cognizable harm from a stay pending appeal.
 4             In contrast to the substantial irreparable harm that Coinbase will face if a stay is not

 5   granted, the only harm that Mr. Bielski could suffer is a delay in prosecuting his claims. There is

 6   no alleged ongoing harm to be addressed. Such delay alone “does not compare to the

 7   unjustifiable waste of time and money that would result from proceeding with this litigation

 8   before the Ninth Circuit decides whether this dispute is even subject to judicial resolution.”

 9   Mundi v. Union Security Life Ins. Co., 2007 WL 2385069, at *6 (E.D. Cal. Aug. 17, 2007). As

10   one court in this district has explained, “[a]lthough relief may be delayed, this case is still in its

11   earliest stages, relief through the court system often takes a long time, and the delay may be

12   mitigated by remedies such as prejudgment interest.” Zaborowski, 2013 WL 1832638, at *3.

13   Indeed, as another Northern District court has emphasized, any injury to a plaintiff from a stay

14   such as that requested here “can be redressed by an award of damages if plaintiff ultimately

15   prevails.” Winig, 2006 WL 3201047, at *2.

16             Therefore, this factor likewise favors granting Coinbase’s motion because the issuance of

17   a stay will not “substantially injure the other parties interested in the proceeding.” Nken, 556 U.S.

18   at 426.

19             D.     The public interest favors a stay.
20             Public policy interests—particularly the promotion of judicial economy and the strong

21   federal policy favoring arbitration—also support a stay. See Moses H. Cone Mem. Hosp. v.

22   Mercury Constr. Corp., 460 U.S. 1, 24 (1983). “It does not make sense for this Court to expend

23   its time and energy preparing this case for trial . . . only to learn at a later date from the court of

24   appeals that it was not the proper forum to hear the case.” Aviles, 2016 WL 6902458, at *4. As

25   courts have repeatedly emphasized, “[t]he policy underlying the FAA is to promote judicial

26   efficiency and economy. Thus, contrary to public policy, judicial resources will be wasted if this

27   case proceeds all the way to trial, only for the Court to later discovery the case should have

28   proceeded through arbitration.” Ward, 2014 WL 7273911, at *5; McGhee, 2018 U.S. Dist.

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 1   LEXIS 19579 at *8 (same); Zaborowski, 2013 WL 1832638, at *3 (“[C]ontrary to public policy,

 2   judicial resources will be wasted if this case proceeds all the way to trial, only for the Court to

 3   later discover that the case should have proceeded through arbitration.”); Richards, 2012 WL

 4   92738, at *4 (“[T]he federal policy favoring arbitration embodied in the FAA and the economical

 5   use of judicial resources lead the public interest to favor a stay.”). Moreover, “[the] speed and

 6   efficiency of [arbitration] are the foundation for a strong federal policy favoring arbitration over

 7   litigation, which would be contravened by requiring the parties to litigate while the appeal is

 8   pending.” Pokorny, 2008 WL 1787111, at *2.

 9           On the other hand, the requested stay will not impact Mr. Bielski’s interest in resolving his

10   dispute against Coinbase. See Winig, 2006 WL 3201047, at *3 (“Although the Court is cognizant

11   of the public interest in vindicating consumer rights, the Court finds the requested stay will not

12   materially impact that interest.”). Mr. Bielski will not lose his right to litigate the issues in his

13   Complaint pending the stay, and Coinbase has already taken steps to preserve the relevant

14   evidence. See id. at *2; see also Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991)

15   (“[B]y agreeing to arbitrate a statutory claim, a party does not forego the substantive rights

16   afforded by the statute; it only submits to their resolution in an arbitral, rather than judicial,

17   forum.”). Moreover, Mr. Bielski seeks only monetary damages, which can be awarded if and

18   when he prevails. In sum, he will not suffer additional injury as a result of the stay. See Winig,

19   2006 WL 3201047, at *2.

20   V.      CONCLUSION
21           For the foregoing reasons, Coinbase respectfully requests that the Court grant its motion

22   and stay all proceedings until the conclusion of the pending appeal.

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     Dated: May 5, 2022                                         KEKER, VAN NEST & PETERS LLP
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          DEFENDANT COINBASE, INC.’S NOTICE OF MOTION AND MOTION TO STAY PENDING APPEAL
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